                                 OPINION
On April 13, 1992, appellee, Richard D. Ventresca, Sr., pleaded guilty to three counts of attempted rape, aggravated felonies of the second degree, in violation of R.C. 2907.02 and 2923.02, and one count of attempted felonious sexual penetration, an aggravated felony of the second degree, in violation of R.C. 2907.12 and2923.02. In a judgment entry filed on August 20, 1992, the Lake County Court of Common Pleas sentenced appellee to indefinite terms of incarceration of six to fifteen years on each of the attempted rape counts, to be served concurrently with each other. Furthermore, the trial court sentenced appellant to an indefinite term of three to fifteen years on the attempted felonious sexual penetration count, and ordered that all counts were to be served concurrently.
In a judgment entry filed on August 25, 1997, the trial court dismissed proceedings to adjudicate appellee a sexual predator under recently amended R.C. Chapter 2950, because the statute is unconstitutional. Appellant, the State of Ohio, timely filed a notice of appeal, asserting that R.C. Chapter 2950 is constitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
  Accordingly, the judgment of the trial court is affirmed. _______________________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J.,
O'NEILL, J., concur.